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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

   Civil Action No. 15-cv-00302-PAB-MJW

   YSIDRO LONGORIA,

          Plaintiff,
   v.

   CORRECTIONS CORPORATION OF AMERICA,
   CORRECTIONS OFFICER (C.O.) DENNIS KASTELIC, in his individually capacity and
   as an employee of CCA,
   C.O. G. CARDENAS, in his individual capacity and as an employee of CCA,
   C.O. MATTHEW DOTTER, in his individual capacity and as an employee of CCA,
   C.O. ANDREWS LOPEZ, in his individual capacity and as an employee of CCA,
   C.O. GLENDA LUCERO, in her individual capacity and as an employee of CCA,
   C.O. LINDA BRADFORD, in her individual capacity and as an employee of CCA,
   C.O. BRANDON FLOREZ, in his individual capacity and as an employee of CCA,
   C.O. ANTHONY ROMERO, in his individual capacity and as an employee of CCA,
   C.O. ROSEANN JARAMILLO, in her individual capacity and as an employee of CCA,
   C.O. TIFFANY MAREZ, in her individual capacity and as an employee of CCA,
   C.O DAVID LAMBERT, in his individual capacity and as an employee of CCA,
   C.O. STEVE MEDINA, in his individual capacity and as an employee of CCA, and
   C.O. CHIEF LISA FELLHAUER, in her individual capacity and as an employee of CCA,

        Defendants.
   _____________________________________________________________________

      ANSWER TO PLAINTIFF’S SECOND AMENDED COMPLAINT AND DEMAND
        FOR JURY TRIAL FROM DEFENDANT GONZALO CARDENAS-GARCIA
   ______________________________________________________________________

          Defendant Gonzalo Cardenas-Garcia, by and through his counsel, Andrew D.

   Ringel, Esq. and Edmund M. Kennedy, Esq., of Hall & Evans, L.L.C., hereby respectfully

   submit this Answer to Plaintiff’s Second Amended Complaint and Demand for Jury Trial,

   as follows:
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                            PARTIES, JURISDICTION AND VENUE

         1.     Defendant Gonzalo Cardenas-Garcia (“Defendant”) admits Plaintiff Ysidro

   Longoria was previously incarcerated at the Crowley County Correctional Facility

   (“CCCF”). Defendant denies all of the remaining allegations contained in paragraph 1 of

   Plaintiff’s Second Amended Complaint.

         2.     Defendant admits Plaintiff was incarcerated at Arkansas Valley Correctional

   Facility (“AVCF”) following his incarceration at CCCF.      Defendant denies all of the

   remaining allegations contained in paragraph 2 of Plaintiff’s Second Amended Complaint.

         3.     Defendant is without sufficient knowledge or information as to the truth of

   the allegations contained in paragraph 3 of Plaintiff’s Second Amended Complaint and

   therefore denies same.

         4.     Defendant is without sufficient knowledge or information as to the truth of

   the allegations contained in paragraph 4 of Plaintiff’s Second Amended Complaint and

   therefore denies same.

         5.     Defendant admits Corrections Corporation of America (“CCA”) is a private

   corporation that owns and operates prisons and other correctional facilities in the United

   States. Defendant admits CCA has a registered agent for service of process in Denver,

   Colorado. Defendant denies all of the remaining allegations contained in paragraph 5 of

   Plaintiff’s Second Amended Complaint.

         6.     Defendant admits CCA operates CCCF and operated CCCF during the time

   Plaintiff was incarcerated at CCCF. Defendant denies all of the remaining allegations

   contained in paragraph 6 of Plaintiff’s Second Amended Complaint.


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         7.     Defendant admits Defendant, Dennis Kastelic, Matthew Dotter, Andres

   Lopez, Glenda Lucero, Linda Bradford, Brandon Florez, Anthony Romero, Roseann

   Jaramillo, Tiffany Marez, David Lambert, Steve Medina and Lisa Fellhauer were

   employed by CCA and worked at CCCF during at least some of the time Plaintiff was

   incarcerated at CCCF. Defendant states any constitutional or common law duty on the

   CCA Defendants represents a question of law and does not require a response from the

   Defendant. To any extent a response is required of Defendant, all such allegations are

   denied. Defendant denies all of the remaining allegations contained in paragraph 7 of

   Plaintiff’s Second Amended Complaint.

         8.     Defendant admits this Court possesses subject matter jurisdiction over the

   Plaintiff’s claims pursuant to 28 U.S.C. § 1331 and 28 U.S.C. § 1367. Defendant denies

   all of the remaining allegations contained in paragraph 8 of Plaintiff’s Second Amended

   Complaint.

                                 GENERAL ALLEGATIONS

         9.     Defendant incorporates by reference all of his responses to paragraphs 1-

   8 above as his response to the allegations contained in paragraph 9 of Plaintiff’s Second

   Amended Complaint.

         10.    Defendant admits upon information and belief that Plaintiff was convicted of

   a sexual offense and imprisoned as a result of that conviction. Defendant is without

   sufficient knowledge or information to form a belief as to the truth of the remaining

   allegations contained in paragraph 10 of Plaintiff’s Second Amended Complaint and

   therefore denies same.


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         11.    Defendant admits Plaintiff was assaulted by an inmate named Franco

   Manuel on February 13, 2013.       Defendant denies all of the remaining allegations

   contained in paragraph 11 of Plaintiff’s Second Amended Complaint.

         12.    Defendant admits Plaintiff was assaulted by Mr. Manuel on February 13,

   2013, in Unit 1, B Pod of CCCF. Defendant denies all of the remaining allegations

   contained in paragraph 12 of Plaintiff’s Second Amended Complaint.

         13.    Defendant is without sufficient knowledge or information to form a belief as

   to the truth of the allegations contained in paragraph 13 of Plaintiff’s Second Amended

   Complaint and therefore denies same.

         14.    Defendants is without sufficient knowledge or information to form a belief as

   to the truth of the allegations contained in paragraph 14 of Plaintiff’s Second Amended

   Complaint and therefore denies same.

         15.    Defendant is without sufficient knowledge or information to form a belief as

   to the truth of the allegations contained in paragraph 15 of Plaintiff’s Second Amended

   Complaint and therefore denies same.

         16.    Defendant is without sufficient knowledge or information to form a belief as

   to the truth of the allegations contained in paragraph 16 of Plaintiff’s Second Amended

   Complaint and therefore denies same.

         17.    Defendant denies all of the allegations contained in paragraph 17 of

   Plaintiff’s Second Amended Complaint.

         18.    Defendant denies all of the allegations contained in paragraph 18 of

   Plaintiff’s Second Amended Complaint.


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         19.    Defendant denies all of the allegations contained in paragraph 19 of

   Plaintiff’s Second Amended Complaint.

         20.    Defendant is without sufficient knowledge or information to form a belief as

   to the truth of the allegations contained in paragraph 20 of Plaintiff’s Second Amended

   Complaint and therefore denies same.

         21.    Defendant denies all of the allegations contained in paragraph 21 of

   Plaintiff’s Second Amended Complaint.

         22.    Defendant denies all of the allegations contained in paragraph 22 of

   Plaintiff’s Second Amended Complaint.

         23.    Defendant denies all of the allegations contained in paragraph 23 of

   Plaintiff’s Second Amended Complaint.

         24.    Defendant denies all of the allegations contained in paragraph 24 of

   Plaintiff’s Second Amended Complaint.

         25.    Defendant denies all of the allegations contained in paragraph 25 of

   Plaintiff’s Second Amended Complaint.

         26.    Defendant admits Plaintiff was assaulted by Mr. Manuel on February 13,

   2013. Defendant is without sufficient knowledge or information to form a belief as to the

   truth of the remaining allegations contained in paragraph 26 of Plaintiff’s Second

   Amended Complaint and therefore denies same.

         27.    Defendant admits Plaintiff was assaulted by Mr. Manuel on February 13,

   2013. Defendant is without sufficient knowledge or information to form a belief as to the




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   truth of the remaining allegations contained in paragraph 27 of Plaintiff’s Second

   Amended Complaint and therefore denies same.

          28.    Defendant admits Plaintiff was assaulted by Mr. Manuel on February 13,

   2013. Defendants is without sufficient knowledge or information to form a belief as to the

   truth of the remaining allegations contained in paragraph 28 of Plaintiff’s Second

   Amended Complaint and therefore denies same.

          29.    Defendant admits that Defendant Linda Bradford noticed Plaintiff stumbling

   down the stairs in Unit 1, B Pod of CCCF, approached the Plaintiff, noticed the Plaintiff’s

   head was full of blood, told the Plaintiff to sit down on the stairs, and summoned a medical

   response. Defendant denies all of the remaining allegations contained in paragraph 29

   of Plaintiff’s Second Amended Complaint.

          30.    Defendant admits Plaintiff spoke to investigators after the assault on

   February 13, 2013.     Defendant denies all of the remaining allegations contained in

   paragraph 30 of Plaintiff’s Second Amended Complaint.

          31.    Defendant denies all of the allegations contained in paragraph 31 of

   Plaintiff’s Second Amended Complaint.

          32.    Defendant admits Mr. Manuel’s assault on the Plaintiff was criminally

   prosecuted as a felony assault by the District Attorney for the Sixteenth Judicial District.

   Defendant denies all of the remaining allegations contained in paragraph 32 of Plaintiff’s

   Second Amended Complaint.

          33.    Defendant admits Mr. Manuel’s assault on the Plaintiff was criminally

   prosecuted as a felony assault by the District Attorney for the Sixteenth Judicial District.


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   Defendants is without sufficient knowledge or information to form a belief as to the truth

   of the remaining allegations contained in paragraph 33 of Plaintiff’s Second Amended

   Complaint and therefore denies same.

         34.     Defendant states the Plaintiff’s medical records in their entirety speak for

   themselves.   Defendant denies all of the allegations contained in paragraph 34 of

   Plaintiff’s Second Amended Complaint inconsistent therewith. Defendant denies all of

   the remaining allegations contained in paragraph 34 of Plaintiff’s Second Amended

   Complaint.

         35.     Defendant states the Plaintiff’s medical records in their entirety speak for

   themselves.   Defendant denies all of the allegations contained in paragraph 35 of

   Plaintiff’s Second Amended Complaint inconsistent therewith. Defendant denies all of

   the remaining allegations contained in paragraph 35 of Plaintiff’s Second Amended

   Complaint.

         36.     Defendant denies all of the allegations contained in paragraph 36 of

   Plaintiff’s Second Amended Complaint.

         37.     Defendant denies all of the allegations contained in paragraph 37 of

   Plaintiff’s Second Amended Complaint.

         38.     Defendant admits Defendant, Dennis Kastelic, Matthew Dotter, Andres

   Lopez, Glenda Lucero, Linda Bradford, Brandon Florez, Anthony Romero, Roseann

   Jaramillo, Tiffany Marez, David Lambert, Steve Medina and Lisa Fellhauer as employees

   of CCA generally act under color of state law within the scope of their employment with




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   CCA. Defendant denies all of the remaining allegations contained in paragraph 38 of

   Plaintiff’s Second Amended Complaint.

         39.    Defendant denies all of the allegations contained in paragraph 39 of

   Plaintiff’s Second Amended Complaint.

         40.    Defendant denies all of the allegations contained in paragraph 40 of

   Plaintiff’s Second Amended Complaint.

         Defendant denies all of the allegations following the word “Wherefore” on page 6

   of Plaintiff’s Second Amended Complaint and that the Plaintiff is entitled to any of the

   relief requested in the Plaintiff’s Second Amended Complaint.

                                FIRST CLAIM FOR RELIEF
               (Deprivation of Civil Rights in Violation of 42 U.S.C. § 1983
               Violation of Plaintiff’s Fifth and Eighth Amendment Rights)

         41.    Defendant incorporates by reference all of his responses to paragraphs 1-

   40 above as his response to the allegations contained in paragraph 41 of Plaintiff’s

   Second Amended Complaint.

         42.    Defendant admits Defendant, Dennis Kastelic, Matthew Dotter, Andres

   Lopez, Glenda Lucero, Linda Bradford, Brandon Florez, Anthony Romero, Roseann

   Jaramillo, Tiffany Marez, David Lambert, Steve Medina and Lisa Fellhauer as employees

   of CCA generally act under color of state law within the scope of their employment with

   CCA. Defendant denies all of the remaining allegations contained in paragraph 42 of

   Plaintiff’s Second Amended Complaint.

         43.    Defendant denies all of the allegations contained in paragraph 43 of

   Plaintiff’s Second Amended Complaint.


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         44.    Defendant denies all of the allegations contained in paragraph 44 of

   Plaintiff’s Second Amended Complaint.

         45.    Defendant denies all of the allegations contained in paragraph 45 of

   Plaintiff’s Second Amended Complaint.

         46.    Defendant denies all of the allegations contained in paragraph 46 of

   Plaintiff’s Second Amended Complaint.

         47.    Defendant denies all of the allegations contained in paragraph 47 of

   Plaintiff’s Second Amended Complaint.

         48.    Defendant denies all of the allegations contained in paragraph 48 of

   Plaintiff’s Second Amended Complaint.

         Defendant denies all of the allegations following the word “Wherefore” on page 8

   of Plaintiff’s Second Amended Complaint and that the Plaintiff is entitled to any of the

   relief requested in the Plaintiff’s Second Amended Complaint.

                               SECOND CLAIM FOR RELIEF
                                     (Negligence)

         49.    Defendant incorporates by reference all of his responses to paragraphs 1-

   48 above as his response to the allegations contained in paragraph 49 of Plaintiff’s

   Second Amended Complaint.

         50.    Defendant admits CCA contracts to operate CCCF with the State of

   Colorado and that CCCF is a private correctional facility. Defendant denies all of the

   remaining allegations contained in paragraph 50 of Plaintiff’s Second Amended

   Complaint.



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         51.    Defendant admits Plaintiff was previously incarcerated at CCCF. CCA

   Defendant denies all of the remaining allegations contained in paragraph 51 of Plaintiff’s

   Second Amended Complaint.

         52.    Defendant states the question of whether the CCA Defendants owed

   Plaintiff a legal duty is a question of law and therefore requires no response from the

   Defendant.   To any extent a response is required, all such allegations are denied.

   Defendant denies all of the remaining allegations contained in paragraph 52 of Plaintiff’s

   Second Amended Complaint.

         53.    Defendant denies all of the allegations contained in paragraph 53 of

   Plaintiff’s Second Amended Complaint.

         54.    Defendant denies all of the allegations contained in paragraph 54 of

   Plaintiff’s Second Amended Complaint.

         55.    Defendant denies all of the allegations contained in paragraph 55 of

   Plaintiff’s Second Amended Complaint.

         56.    Defendant denies all of the allegations contained in paragraph 56 of

   Plaintiff’s Second Amended Complaint.

         57.    Defendant denies all of the allegations contained in paragraph 57 of

   Plaintiff’s Second Amended Complaint.

         Defendant denies all of the allegations following the first word “Wherefore” on page

   9 of Plaintiff’s Second Amended Complaint and that the Plaintiff is entitled to any of the

   relief requested in the Plaintiff’s Second Amended Complaint.




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                                    PRAYER FOR RELIEF

          Defendant denies all of the allegations following the second word “Wherefore” on

   page 9 of Plaintiff’s Second Amended Complaint or that the Plaintiff is entitled to any of

   the damages alleged or sought in the Plaintiff’s Second Amended Complaint.

                                      GENERAL DENIAL

          Defendant denies each and every allegation contained in Plaintiff’s Second

   Amended Complaint not specifically admitted herein.

                           DEFENSES AND AFFIRMATIVE DEFENSES

          1.     Plaintiff’s Second Amended Complaint fails to state a claim upon which any

   relief may be granted against the Defendant.

          2.     All or part of Plaintiff’s claims do not rise to the level of constitutional

   violations, sufficient to state a claim upon which relief may be granted.

          3.     Defendant’s    actions   were    taken   for   legitimate,    nondiscriminatory

   penological purposes.

          4.     The injuries and damages sustained by Plaintiff, in whole or in part, were

   proximately caused by his own acts or omissions and/or the acts or omissions of third

   parties over whom the Defendant have no control or right of control.

          5.     Plaintiff has failed to mitigate his damages, if any, as required by law.

          6.     Defendant never breached any duty owed Plaintiff at any time in the course

   of his incarceration.




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          7.     At all times pertinent herein, Defendant acted in accordance with all

   common law, statutory, regulatory, policy, and constitutional obligations and without any

   intent to cause Plaintiff any harm.

          8.     The Fifth Amendment to the United States Constitution is inapplicable to

   any of the Plaintiff’s claims and the Plaintiff’s status as a state prisoner.

          9.     Some or all of the Plaintiff’s claims are barred and/or limited by the Prison

   Litigation Reform Act, 42 U.S.C. §§ 1997e et seq.

          10.    Some or all of the Plaintiff’s claims are barred and/or limited by C.R.S. § 13-

   17.5-102.3.

          11.    Plaintiff is not entitled to any of the relief sought in the Second Amended

   Complaint under any of the theories asserted.

          12.    Some or all of Plaintiff’s claims against the Defendant fail for a lack of

   personal participation.

          13.    Plaintiff was deprived of no well-settled liberty or property interest and he

   was afforded all the rights, privileges and immunities guaranteed by the Constitution and

   no constitutionally protected interested is impugned in relation to any claim of Plaintiff.

          14.    Defendant’s conduct was, at all times, lawful, justified, and privileged and

   any actions complained of by Plaintiff in relation to the Defendant were justified by

   penological reasons.

          15.    Plaintiff’s injuries and damages, if any, were either pre-existing or not

   aggravated by any action or omission of or by Defendant, nor were they proximately

   caused by or related to any act or omission of Defendant.


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            16.   Defendant has designated non-parties at fault pursuant to C.R.S. § 13-21-

   111.5.

            17.   Plaintiff’s claim for non-economic damages, if any, is subject to the

   limitations set forth in C.R.S. § 13-21-102.5.

            18.   Plaintiff’s damages, if any, may be subject to offset by virtue of amounts

   received from other sources pursuant to C.R.S. § 13-21-111.6 and otherwise as provided

   by law.

            19.   Plaintiff was negligent or contributorily negligent and his comparative

   negligence equals or exceeds the negligence or liability, if any, of the Defendant, and

   therefore bars or reduces Plaintiff’s recovery as provided by law.

            20.   Some or all of the Plaintiff’s claims against the Defendant are barred by the

   applicable statutes of limitation.

            21.   Defendant incorporates herein by reference pursuant to Fed. R. Civ. P.

   10(c) all of the applicable defenses and affirmative defenses as pled by any of the other

   Defendants in this matter.

            22.   Defendant specifically reserves the right to amend his Answer to include

   additional defenses and affirmative defenses and/or delete defenses and affirmative

   defenses which have become non-applicable upon completion of additional discovery.

            WHEREFORE, having answered the allegations contained in the Plaintiff’s

   Second Amended Complaint in full, Defendant Gonzalo Cardenas-Garcia moves the

   Court for entry of an Order dismissing all elements of all claims against him in complete




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   and total fashion, awarding him costs and attorney’s fees, and ordering such other and

   further relief as the Court deems proper.

                                       JURY DEMAND

          Pursuant to Fed. R. Civ. P. 38(b), Defendant hereby demands a trial by jury on all

   issues so triable.

                        Dated this 13th day of November, 2015.


                                                    Respectfully submitted,


                                                    s/ Andrew D. Ringel
                                                    Andrew D. Ringel, Esq.
                                                    Edmund M. Kennedy, Esq.
                                                    Hall & Evans, L.L.C.
                                                    1001 17th Street, Suite 300
                                                    Denver, CO 80202
                                                    Telephone: (303) 628-3300
                                                    Facsimile: (303) 628-3368
                                                    Email: ringela@hallevans.com
                                                           kennedye@hallevans.com

                                                    ATTORNEYS FOR CCA DEFENDANTS




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                           CERTIFICATE OF SERVICE (CM/ECF)

          I HEREBY CERTIFY that on the 13th day of November, 2015, I electronically filed
   the foregoing with the Clerk of Court using the CM/ECF system which will send notification
   of such filing to the following e-mail addresses:

   David C. Japha
   davidjapha@japhalaw.com




                                                   s/ Nicole Marion, Legal Assistant to
                                                   Andrew D. Ringel, Esq.
                                                   Edmund M. Kennedy. Esq.
                                                   Hall & Evans, L.L.C.
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                                                   ATTORNEYS FOR CCA DEFENDANTS




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